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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF FLORIDA
                                    Pensacola Division




                                                                    )
               JASON SARTORI                                        )
                                                                    )
                            Plaintiff,                              ) Case Number: 3:17-cv-679
                                                                    )
                       v.                                           )
                                                                    )
               UNITED STATES ARMY,                                  ) INJUNCTIVE RELIEF
                    114 Army Pentagon                               ) SOUGHT
                    Washington, D.C. 20310;                         )
                                                                    )
                     Defendant.                                     )
       ______________________________                               )

                                              COMPLAINT

This is an action brought by plaintiff, Jason Sartori, against defendant Department of Army under

the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, et seq., as amended, for the disclo-

sure of various entries on the internal email system.

1. Plaintiff, Jason Sartori, is a citizen of Florida residing in Niceville, Florida.

2. Defendant Department of Army is an agency of the United States and component of the De-

   partment of Defense.

                                    JURISDICTION AND VENUE

3. This action arising under the FOIA, 5 U.S.C. § 552.

4. This court has jurisdiction over the parties and subject matter pursuant to 5 U.S.C. § 552(a)

   (4)(B).

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5. Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B).


                                   STATEMENT OF FACTS
                                      BACKGROUND

6. Plaintiff is an Army officer currently holding the rank of Major assigned to the 3rd Battalion,

   7th Special Forces Group (Airborne) headquartered in the vicinity of Duke Field, Crestview

   Florida.

7. Major Sartori has served in the United States Army from 2004 to present and has been recog-

   nized as a combat leader with deployments worldwide in support of the Global War on Ter-

   ror. In his career Major Sartori deployed to Afghanistan and Iraq as a special forces officer.

8. Major Sartori is a highly trained Army officer and a graduate of Ranger School, Special

   Forces Officer Qualification Course, General Command and Staff College, and holds a mas-

   ter’s degree in International Studies.

                          UNITED STATES ARMY ALLEGATIONS

9. On or about September 1, 2016, the United States Army conducted an internal investigation

   of Major Sartori based on allegations of misconduct by Major Sartori pursuant to Army Reg-

   ulation 15-6.

10. Five months later, in February 2017, the United States Army concluded the internal investi-

   gation.

11. An additional six months later, in August 2017, the Commanding General in Major Sartori’s

   direct supervision recommended that Major Sartori be eliminated or separated from the Unit-

   ed States Army pursuant to Army Regulation 600-8-24.




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12. As part of the officer elimination process Major Sartori is afforded due process rights in the

   form of a hearing called a Board of Inquiry akin to a trial or tribunal.

13. At this Board of Inquiry, Major Sartori is permitted counsel to defend him but no discovery

   tools are afforded for Major Sartori’s defense.

14. Army Regulation 600-8-24 is the source document for process and procedure on officer elim-

   inations.

15. On or about August 25, 2017, the United States Army requested Major Sartori’s Board of

   Inquiry be called to order on October 5, 2017.

16. Major Sartori requested an extension to hold the Board of Inquiry at a later date in order for

   Major Sartori to receive and process information requested in the FOIA request on which this

   complaint rests.

17. To date, the United States Army has denied this request, and has resisted any attempt by Ma-

   jor Sartori to continue his Board of Inquiry until Major Sartori’s FOIA request can be pro-

   cessed and information prepared for his defense.

                            MAJOR SARTORI’S FOIA REQUEST

18. On August 2, 2017, Major Sartori requested through the Freedom of Information Act for cer-

   tain electronic mail (email) messages authored by Army personnel regarding Major Sartori.

19. These emails messages are likely helpful to the defense regarding the allegations levied by

   the United States Army against Major Sartori.

20. On August 2, 2017, the United States Army acknowledged Major Sartori’s request and as-

   signed the following U.S. Army Special Operations Command FOIA Case number: 17-146.




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21. On August 28, 2017, after the expiration of the 20 day statutory period, Major Sartori re-

    quested the United States Army comply with his FOIA request. The United States Army re-

    sponded to Major Sartori inquiry but failed to respond to Major Sartori’s FOIA request.

22. On September 5, 2017, after the expiration of the 20 day statutory period, Major Sartori again

    requested the United States Army comply with his FOIA request.

23. The United States Army responded to Major Sartori inquiry but, again, failed to respond to

    Major Sartori’s FOIA request.

24. On September 11, 2017, after the expiration of the 20 day statutory period Major Sartori

    again requested the United States Army comply with his FOIA request.

25. For a third time, the United States Army responded to Major Sartori inquiry but failed to re-

    spond to Major Sartori’s FOIA request.

                                COUNT I: VIOLATION OF FOIA

26. This Count re-alleges and incorporates by reference paragraphs 1 through 25.

27. Defendants have violated FOIA by improperly withholding records responsive to Major Sar-

    tori’s U.S. Army Special Operations Command FOIA Case number 17-146.



                                      PRAYER FOR RELIEF

Plaintiff requests that this Court:

        A. Declare Defendants’ failure to comply with FOIA to be unlawful;

        B. Enjoin Defendants from continuing to withhold records responsive to Plaintiff’s

            FOIA request and otherwise order Defendants to produce the requested records with-

            out delay;

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      C. Grant Plaintiff an award of attorney’s fees and other litigation costs reasonably in-

          curred in this action pursuant to 5 U.S.C. § 552a(4)(E)(i); and

      D. Grant Plaintiff such other and further relief the Court deems proper.


Dated: September 13, 2017


                                                     RESPECTFULLY SUBMITTED
                                                     BY:



                                                     s/ Michael Stanski
                                                     Michael Stanski, Esquire
                                                     Florida Bar No: 109276
                                                     3955 Riverside Avenue
                                                     Jacksonville, Florida 32205
                                                     P: (904) 370-3483
                                                     Email: michael@stanskilaw.com
                                                     Attorney for Plaintiff




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